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          2:25-cv-00374-wks Document 105 Filed 04/22/25 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                               DISTRICT OF VERMONT


 RUMEYSA OZTURK,

                             Petitioner,

                v.                                                     No. 2:25-cv-374

 DONALD J. TRUMP, in his official capacity as
 President of the United States, PATRICIA
 HYDE, Field Office Director,
 MICHAEL KROL, HSI New England Special
 Agent in Charge, TODD LYONS, Acting
 Director, U.S. Immigration and Customs
 Enforcement, and KRISTI NOEM, Secretary of
 Homeland Security; and MARCO RUBIO, in his
 official capacity as Secretary of State

                            Respondents.


                          RESPONDENTS’ NOTICE OF APPEAL

       PLEASE TAKE NOTICE that all named Respondents hereby appeal to the United

States Court of Appeals for the Second Circuit from the Court’s April 18, 2025 Order (ECF No.

104) accepting jurisdiction and ordering Petitioner be physically transferred to ICE custody

within the District of Vermont no later than May 1, 2025.

                                                    Respectfully submitted,



Dated: April 22, 2025                       By:     /s/ Michael P. Drescher
                                                    Michael P. Drescher
                                                    Assistant United States Attorney
                                                    District of Vermont
       RESTRICTED Case: 25-1019, 04/23/2025, DktEntry: 1.1, Page 2 of 15

                                                                                     APPEAL,HABEAS
                                  U.S. District Court
                           District of Vermont (Burlington)
                   CIVIL DOCKET FOR CASE #: 2:25−cv−00374−wks

Ozturk v. Hyde et al                                           Date Filed: 04/04/2025
Assigned to: Judge William K. Sessions III                     Jury Demand: None
Case in other court: Massachusetts, 1:25−cv−10695              Nature of Suit: 463 Habeas Corpus −
Cause: 8:1182 Defend. Denial of Pla. Appl. for Alien           Alien Detainee
Employment Cer                                                 Jurisdiction: U.S. Government Defendant
Petitioner
Rumeysa Ozturk                                   represented by Adriana Lafaille , Esq.
                                                                ACLU Foundation of Massachusetts, Inc.
                                                                One Center Plaza, Suite 850
                                                                Boston, MA 02108
                                                                617−482−3170
                                                                PRO HAC VICE
                                                                ATTORNEY TO BE NOTICED

                                                               Brett M. Kaufman , Esq.
                                                               American Civil Liberties Union
                                                               Foundation
                                                               125 Broad Street, 18th Floor
                                                               New York, NY 10004
                                                               212−549−2603
                                                               Fax: 212−995−4031
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                                                               Brian Matthew Hauss , Esq.
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                                                               Email: jrossman@aclum.org
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                                                               ATTORNEY TO BE NOTICED

                                                               Julian Bava , Esq.
                                                               ACLU Foundation of Massachusetts, Inc.
RESTRICTED Case: 25-1019, 04/23/2025, DktEntry: 1.1, Page 3 of 15

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                                            Lia N. Ernst , Esq.
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                                            115 Main Street, Ste 1B
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                                            1 Rockefeller Plaza, 8th Floor
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                                            Fax: 212−763−5001
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                                            CUNY School of Law
                                            2 Court Square, Ste 5th Floor
                                            Long Island City, NY 11101
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                                            Email: mudassar.toppa@law.cuny.edu
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                                            Noor Zafar , Esq.
     RESTRICTED Case: 25-1019, 04/23/2025, DktEntry: 1.1, Page 4 of 15

                                                 American Civil Liberties Union
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                                                 469−301−5991
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                                                 Email: vtalla@ecbawm.com
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED


V.
        RESTRICTED Case: 25-1019, 04/23/2025, DktEntry: 1.1, Page 5 of 15

Respondent
Patricia Hyde                           represented by Mark Sauter , AUSA
Field Office Director                                  U.S. Department of Justice
                                                       20 Massachusetts Ave., N.W.
                                                       Room 6114
                                                       Washington, DC 20001
                                                       617−748−3347
                                                       ATTORNEY TO BE NOTICED

                                                      Michael P. Drescher , AUSA
                                                      United States Attorney's Office
                                                      11 Elmwood Avenue, 3rd Floor
                                                      P.O. Box 570
                                                      Burlington, VT 05402−0570
                                                      (802) 951−6725
                                                      Email: michael.drescher@usdoj.gov
                                                      ATTORNEY TO BE NOTICED

Respondent
Michael Krol                            represented by Mark Sauter , AUSA
HSI New England Special Agent in                       (See above for address)
Charge                                                 ATTORNEY TO BE NOTICED

                                                      Michael P. Drescher , AUSA
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

Respondent
Todd Lyons                              represented by Mark Sauter , AUSA
Acting Director U.S. Immigration and                   (See above for address)
Customs Enforcement                                    ATTORNEY TO BE NOTICED

                                                      Michael P. Drescher , AUSA
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

Respondent
Kristi Noem                             represented by Mark Sauter , AUSA
Secretary of Homeland Security                         (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                      Michael P. Drescher , AUSA
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

Respondent
Donald J Trump                          represented by Mark Sauter , AUSA
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                      Michael P. Drescher , AUSA
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

Respondent
Marco A. Rubio                          represented by Mark Sauter , AUSA
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                      Michael P. Drescher , AUSA
                                                      (See above for address)
         RESTRICTED Case: 25-1019, 04/23/2025, DktEntry: 1.1, Page 6 of 15

                                                                ATTORNEY TO BE NOTICED

Amicus
Brett F Stokes                                  represented by Brett F. Stokes , Esq.
International Law Professors, Experts,                         Vermont Law School
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                                                               Burlington, VT 05402
                                                               802−558−7732
                                                               Email: bstokes@vermontlaw.edu
                                                               ATTORNEY TO BE NOTICED


 Date Filed     #    Docket Text
 03/25/2025      1 PETITION for Writ of Habeas Corpus (2241) Filing fee: $ 5, receipt number
                   BMADC−10912735 Fee status: Filing Fee paid., filed by Rumeysa
                   Ozturk.(Khanbabai, Mahsa) [Transferred from Massachusetts on 4/4/2025.] (Entered:
                   03/25/2025)
 03/25/2025      2 ELECTRONIC NOTICE of Case Assignment. Judge Denise J. Casper assigned to
                   case. If the trial Judge issues an Order of Reference of any matter in this case to a
                   Magistrate Judge, the matter will be transmitted to Magistrate Judge Donald L. Cabell.
                   (JPM) [Transferred from Massachusetts on 4/4/2025.] (Entered: 03/25/2025)
 03/25/2025      3 Judge Indira Talwani: ORDER entered. Service Order and Order Concerning
                   Determination of Jurisdiction. (JPM) [Transferred from Massachusetts on 4/4/2025.]
                   (Entered: 03/25/2025)
 03/26/2025      4 General Order 19−02, dated June 1, 2019 regarding Public Access to Immigration
                   Cases Restricted by Federal Rule of Civil Procedure 5.2(c). (NMC) [Transferred from
                   Massachusetts on 4/4/2025.] (Entered: 03/26/2025)
 03/26/2025      5 Online access to documents in this case is limited to counsel of record only. All
                   documents are available for review in the Office of the Clerk. Counsel of record:
                   please note that you will need to log into CM/ECF to access any documents in this
                   case. (SEC) [Transferred from Massachusetts on 4/4/2025.] (Entered: 03/26/2025)
 03/26/2025      6 NOTICE of Appearance by Mark Sauter on behalf of Patricia Hyde, Michael Krol,
                   Todd Lyons, Kristi Noem (Sauter, Mark) [Transferred from Massachusetts on
                   4/4/2025.] (Entered: 03/26/2025)
 03/26/2025      7 Withdrawn MOTION for Writ EMERGENCY Motion To Produce Petitioner by
                   Rumeysa Ozturk.(Khanbabai, Mahsa) Modified on 3/27/2025 in accordance with D.
                   10 (SEC). [Transferred from Massachusetts on 4/4/2025.] (Entered: 03/26/2025)
 03/26/2025      8 Judge Denise J. Casper: ELECTRONIC ORDER entered. The Court orders the
                   government to respond to the motion, D. 7 , by 9:00am on 3/27/25. (SEC) [Transferred
                   from Massachusetts on 4/4/2025.] (Entered: 03/26/2025)
 03/27/2025      9 Opposition re 7 MOTION for Writ EMERGENCY Motion To Produce Petitioner filed
                   by Rumeysa Ozturk, Patricia Hyde, Michael Krol, Todd Lyons, Kristi Noem. (Sauter,
                   Mark) [Transferred from Massachusetts on 4/4/2025.] (Entered: 03/27/2025)
 03/27/2025     10 NOTICE of Withdrawal by Rumeysa Ozturk to W/D Motion at ECF7 (Khanbabai,
                   Mahsa) [Transferred from Massachusetts on 4/4/2025.] (Entered: 03/27/2025)
 03/28/2025     11 NOTICE of Appearance by Jessie J. Rossman on behalf of Rumeysa Ozturk
                   (Rossman, Jessie) [Transferred from Massachusetts on 4/4/2025.] (Entered:
                   03/28/2025)
 03/28/2025     12 AMENDED COMPLAINT AND PETITION FOR WRIT OF HABEAS CORPUS
                   against Patricia Hyde, Michael Krol, Todd Lyons, Kristi Noem, Donald J Trump,
                   Marco Rubio, filed by Rumeysa Ozturk. (Attachments: # 1 Exhibit A, # 2 Exhibit
                   B)(Rossman, Jessie) . (Additional attachment(s) added on 3/28/2025: # 3 *SEALED*
                   Exhibit A and B) (SEC). [Transferred from Massachusetts on 4/4/2025.] (Entered:
                   03/28/2025)
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03/28/2025   13 NOTICE of Appearance by Rachel Elizabeth Davidson on behalf of Rumeysa Ozturk
                (Davidson, Rachel) [Transferred from Massachusetts on 4/4/2025.] (Entered:
                03/28/2025)
03/28/2025   14 NOTICE of Appearance by Julian Bava on behalf of Rumeysa Ozturk (Bava, Julian)
                [Transferred from Massachusetts on 4/4/2025.] (Entered: 03/28/2025)
03/28/2025   15 NOTICE of Appearance by Adriana Lafaille on behalf of Rumeysa Ozturk (Lafaille,
                Adriana) [Transferred from Massachusetts on 4/4/2025.] (Entered: 03/28/2025)
03/28/2025   16 Judge Denise J. Casper: ORDER entered. MEMORANDUM AND ORDER − the
                Court ORDERS as follows:

                 1. To allow the Court's resolution of its jurisdiction to decide the Petition, Ozturk shall
                 not be removed from the United States until further Order of this Court. See Mahmoud
                 Khalil v. Joyce, No. 25−cv−01935−JMF at ECF No. 9, 2025 WL 750599 (S.D.N.Y.
                 Mar. 10, 2025) (ruling that "[t]o preserve the Courts jurisdiction pending a ruling on
                 the petition, Petitioner shall not be removed from the United States unless and until the
                 Court orders otherwise"); and

                 2. The Respondents have until 5:00 p.m. on Tuesday, April 1, 2025, to respond to the
                 Amended Petition and Complaint, D. 12 .

                 (SEC) [Transferred from Massachusetts on 4/4/2025.] (Entered: 03/28/2025)
04/01/2025   17 MOTION for Leave to File Excess Pages by Patricia Hyde, Michael Krol, Donald J
                Trump, Marco Rubio, Todd Lyons, Kristi Noem.(Sauter, Mark) [Transferred from
                Massachusetts on 4/4/2025.] (Entered: 04/01/2025)
04/01/2025   18 Judge Denise J. Casper: ELECTRONIC ORDER entered allowing 17 Motion for
                Leave to File Excess Pages; Counsel using the Electronic Case Filing System should
                now file the document for which leave to file has been granted in accordance with the
                CM/ECF Administrative Procedures. Counsel must include − Leave to file granted on
                (date of order)− in the caption of the document. (SEC) [Transferred from
                Massachusetts on 4/4/2025.] (Entered: 04/01/2025)
04/01/2025   19 RESPONSE/ANSWER to 12 Amended Complaint, by Patricia Hyde, Michael Krol,
                Donald J Trump, Marco Rubio, Todd Lyons, Kristi Noem. (Attachments: # 1 Exhibit
                A)(Sauter, Mark) [Transferred from Massachusetts on 4/4/2025.] (Entered:
                04/01/2025)
04/01/2025   20 Judge Denise J. Casper: ELECTRONIC ORDER entered re 19 Response to Petition
                for Writ of Habeas Corpus − 2241. Petitioner may file a response to Respondents'
                filing, D. 19 , by April 2, 2025 at 5 p.m. Such filing shall not exceed thirty (30) pages.
                (SEC) [Transferred from Massachusetts on 4/4/2025.] (Entered: 04/01/2025)
04/02/2025   21 ELECTRONIC NOTICE of Hearing. Oral argument on the Amended Petition, D. 12.
                Hearing set for 4/3/2025 02:00 PM in Courtroom 11 (In person with remote access
                provided) before Judge Denise J. Casper. Overflow will be available in Jury Assembly
                Hall.

                 This hearing will be available to the public and media by audio only. Please check the
                 Court schedule. In order to gain access to the hearing, you must sign up at the
                 following address: https://forms.mad.uscourts.gov/courtlist.html.

                 For questions regarding access to hearings, you may refer to the general orders and
                 public notices of the Court available on www.mad.uscourts.gov or contact the session
                 here.

                 (LMH) [Transferred from Massachusetts on 4/4/2025.] (Entered: 04/02/2025)
04/02/2025   22 MOTION to Seal Declaration of Rumeysa Ozturk re: Reply to 1 PETITION for Writ
                of Habeas Corpus (2241) by Rumeysa Ozturk.(Lafaille, Adriana) [Transferred from
                Massachusetts on 4/4/2025.] Link added on 4/6/2025 (law). (Entered: 04/02/2025)
04/02/2025   23 Judge Denise J. Casper: ELECTRONIC ORDER entered granting 22 Motion to Seal
                Declaration of Rumeysa Ozturk by Rumeysa Ozturk. Counsel will receive an email
                within twenty−four (24) hours of this order with instructions for submitting sealed
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                 documents for which leave has been granted in accordance with the Local Rules of the
                 U.S. District Court of Massachusetts. Counsel must include − Leave to file granted on
                 (date of order)− in the caption of the document. (LMH) [Transferred from
                 Massachusetts on 4/4/2025.] (Entered: 04/02/2025)
04/02/2025   24 MOTION for Leave to File Excess Pages for Reply re: 1 PETITION for Writ of
                Habeas Corpus (2241) by Rumeysa Ozturk.(Lafaille, Adriana) [Transferred from
                Massachusetts on 4/4/2025.] Link added on 4/6/2025 (law). (Entered: 04/02/2025)
04/02/2025   25 Judge Denise J. Casper: ELECTRONIC ORDER entered granting 24 MOTION for
                Leave to File Excess Pages by Rumeysa Ozturk noting there will be no opposition
                filed.

                 Counsel using the Electronic Case Filing System should now file the document for
                 which leave to file has been granted in accordance with the CM/ECF Administrative
                 Procedures. Counsel must include − Leave to file granted on (date of order)− in the
                 caption of the document. (SEC) [Transferred from Massachusetts on 4/4/2025.]
                 (Entered: 04/02/2025)
04/02/2025   26 REPLY to Response to 1 Petition for Writ of Habeas Corpus − 2241 by Rumeysa
                Ozturk. (Attachments: # 1 Exhibit 1 (unredacted, sealed), # 2 Exhibit 2, # 3 Exhibit 3,
                # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 8)(Lafaille, Adriana)
                (Additional attachment(s) added on 4/3/2025: # 8 *SEALED* Exhibit 7) (SEC).
                [Transferred from Massachusetts on 4/4/2025.] Text and link clarified on 4/6/2025
                (law). (Additional attachment(s) added on 4/16/2025: # 9 Exhibit 1 (redacted)) (law).
                (Entered: 04/02/2025)
04/02/2025   27 ASSENTED−TO MOTION for Leave to Appear Pro Hac Vice for admission of Noor
                Zafar Filing fee: $ 125, receipt number AMADC−10929762 by Rumeysa Ozturk.
                (Attachments: # 1 Exhibit A)(Rossman, Jessie)[Transferred from Massachusetts on
                4/4/2025.] (Entered: 04/02/2025)
04/02/2025   28 ASSENTED−TO MOTION for Leave to Appear Pro Hac Vice for admission of Brian
                Hauss Filing fee: $ 125, receipt number AMADC−10929769 by Rumeysa Ozturk.
                (Attachments: # 1 Exhibit A)(Rossman, Jessie)[Transferred from Massachusetts on
                4/4/2025.] (Entered: 04/02/2025)
04/02/2025   29 ASSENTED−TO MOTION for Leave to Appear Pro Hac Vice for admission of Esha
                Bhandari Filing fee: $ 125, receipt number AMADC−10929772 by Rumeysa Ozturk.
                (Attachments: # 1 Exhibit A)(Rossman, Jessie)[Transferred from Massachusetts on
                4/4/2025.] (Entered: 04/02/2025)
04/02/2025   30 ASSENTED−TO MOTION for Leave to Appear Pro Hac Vice for admission of
                Katherine Rosenfeld Filing fee: $ 125, receipt number AMADC−10929774 by
                Rumeysa Ozturk. (Attachments: # 1 Exhibit A)(Rossman, Jessie)[Transferred from
                Massachusetts on 4/4/2025.] (Entered: 04/02/2025)
04/02/2025   31 ASSENTED−TO MOTION for Leave to Appear Pro Hac Vice for admission of Sonya
                Levitova Filing fee: $ 125, receipt number AMADC−10929777 by Rumeysa Ozturk.
                (Attachments: # 1 Exhibit A)(Rossman, Jessie)[Transferred from Massachusetts on
                4/4/2025.] (Entered: 04/02/2025)
04/02/2025   32 ASSENTED−TO MOTION for Leave to Appear Pro Hac Vice for admission of
                Matthew D. Brinckerhoff Filing fee: $ 125, receipt number AMADC−10929780 by
                Rumeysa Ozturk. (Attachments: # 1 Exhibit A)(Rossman, Jessie)[Transferred from
                Massachusetts on 4/4/2025.] (Entered: 04/02/2025)
04/02/2025   33 ASSENTED−TO MOTION for Leave to Appear Pro Hac Vice for admission of
                Vasudha Talla Filing fee: $ 125, receipt number AMADC−10929785 by Rumeysa
                Ozturk. (Attachments: # 1 Exhibit A)(Rossman, Jessie)[Transferred from
                Massachusetts on 4/4/2025.] (Entered: 04/02/2025)
04/03/2025   34 Judge Denise J. Casper: ELECTRONIC ORDER entered granting 27 Motion for
                Leave to Appear Pro Hac Vice Added Noor Zafar; 28 Motion for Leave to Appear Pro
                Hac Vice Added Brian Hauss; 29 Motion for Leave to Appear Pro Hac Vice Added
                Esha Bhandari; 30 Motion for Leave to Appear Pro Hac Vice Added Katherine
                Rosenfeld; 31 Motion for Leave to Appear Pro Hac Vice Added Sonya Levitova; 32
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                 Motion for Leave to Appear Pro Hac Vice Added Matthew D. Brinckerhoff; 33
                 Motion for Leave to Appear Pro Hac Vice Added Vasudha Talla.

                 Attorneys admitted Pro Hac Vice must have an individual PACER account, not a
                 shared firm account, to electronically file in the District of Massachusetts. To
                 register for a PACER account, go the Pacer website at
                 https://pacer.uscourts.gov/register−account. You must put the docket number
                 under ADDITIONAL FILER INFORMATION on your form when registering or
                 it will be rejected.

                 Pro Hac Vice Admission Request Instructions
                 https://www.mad.uscourts.gov/caseinfo/nextgen−pro−hac−vice.htm.

                 A Notice of Appearance must be entered on the docket by the newly admitted
                 attorneys.

                 (SEC) [Transferred from Massachusetts on 4/4/2025.] (Entered: 04/03/2025)
04/03/2025   35 Assented to MOTION Remote Participation by Some of Petitioner's Counsel at
                Argument re 21 Notice of Hearing,,, by Rumeysa Ozturk.(Bava, Julian) [Transferred
                from Massachusetts on 4/4/2025.] (Entered: 04/03/2025)
04/03/2025   36 NOTICE of Appearance by Matthew Brinckerhoff on behalf of Rumeysa Ozturk
                (Brinckerhoff, Matthew) [Transferred from Massachusetts on 4/4/2025.] (Entered:
                04/03/2025)
04/03/2025   37 NOTICE of Appearance by Katherine Rosenfeld on behalf of Rumeysa Ozturk
                (Rosenfeld, Katherine) [Transferred from Massachusetts on 4/4/2025.] (Entered:
                04/03/2025)
04/03/2025   38 NOTICE of Appearance by Sonya Levitova on behalf of Rumeysa Ozturk (Levitova,
                Sonya) [Transferred from Massachusetts on 4/4/2025.] (Entered: 04/03/2025)
04/03/2025   39 NOTICE of Appearance by Vasudha Talla on behalf of Rumeysa Ozturk (Talla,
                Vasudha) [Transferred from Massachusetts on 4/4/2025.] (Entered: 04/03/2025)
04/03/2025   40 Judge Denise J. Casper: ELECTRONIC ORDER entered granting 35 Motion for
                Remote Participation by Some of Petitioner's Counsel at Argument re 21 Notice of
                Hearing by Rumeysa Ozturk. (LMH) [Transferred from Massachusetts on 4/4/2025.]
                (Entered: 04/03/2025)
04/03/2025   41 Electronic Clerk's Notes for proceedings held before Judge Denise J. Casper: Hearing
                on Amended Petition held on 4/3/2025. Court hears from counsel and takes matter
                under advisement. (Court Reporter: Kristin Kelley at
                kmob929@gmail.com.)(Attorneys present: Jessie Rossman, Adriana Lafaille, Mahsa
                Khanbabai, Rachel Davidson, Julian Bava, Noor Zafar and Brian Hauss for the
                petitioner. Mark Sauter for respondent.) (LMH) [Transferred from Massachusetts on
                4/4/2025.] (Entered: 04/03/2025)
04/04/2025   42 Judge Denise J. Casper: ORDER entered. MEMORANDUM AND ORDER − The
                Court DENIES the government's motion to dismiss this Petition and its alternative
                request to transfer this matter to the Western District of Louisiana. The Court
                ALLOWS the alternative relief sought by Ozturk and transfers this matter "in the
                interest of justice" pursuant 28 U.S.C. § 1631 to the U.S. District Court for the District
                of Vermont.

                 To ensure that Ozturk has an opportunity to have the Petition considered by the
                 District of Vermont, and to preserve the status quo, this Court's March 28, 2025 Order
                 enjoining the government from removing her from the United States, D. 16, shall
                 remain in effect unless and until the transferee court orders otherwise. See Khalil, 2025
                 WL 849803, at *14 (ordering same upon transfer).(LMH) [Transferred from
                 Massachusetts on 4/4/2025.] (Entered: 04/04/2025)
04/04/2025   43 Judge Denise J. Casper: Order Transferring Case to US District Court, District of
                Vermont.(LMH) [Transferred from Massachusetts on 4/4/2025.] (Entered: 04/04/2025)
     RESTRICTED Case: 25-1019, 04/23/2025, DktEntry: 1.1, Page 10 of 15

04/04/2025   44 Case transferred to to District of Vermont. Original file certified copy of transfer order
                and docket sheet sent to Clerk in that district. (SEC) [Transferred from Massachusetts
                on 4/4/2025.] (Entered: 04/04/2025)
04/04/2025   45 CASE TRANSFERRED IN electronically from District of Massachusetts; Case
                Number 1:25−cv−10695. (Entered: 04/04/2025)
04/04/2025   46 NOTICE OF APPEARANCE by Lia N. Ernst, Esq on behalf of Rumeysa
                Ozturk.(Ernst, Lia) (Entered: 04/04/2025)
04/04/2025   47 UNOPPOSED MOTION for Telephonic Status Conference filed by Rumeysa Ozturk.
                (Ernst, Lia) (Entered: 04/04/2025)
04/05/2025   48 ORDER granting 47 Unopposed Motion for Telephonic Status Conference. A
                telephonic status conference is now scheduled on Monday, April 7, 2025 at 12:00 p.m.
                EST. Signed by Judge William K. Sessions III on 4/5/2025. (This is a text−only
                Order.) (eae) (Entered: 04/05/2025)
04/05/2025   49 NOTICE OF APPEARANCE by Monica H. Allard, Esq on behalf of Rumeysa
                Ozturk.(Allard, Monica) (Entered: 04/05/2025)
04/06/2025   50 NOTICE of Hearing: Status Conference set for 4/7/2025 12:00 PM by telephone
                before Judge William K. Sessions III.(law) (Entered: 04/06/2025)
04/06/2025   51 UNOPPOSED MOTION for Appearance Pro Hac Vice of Ramzi Kassem (Filing fee $
                150 receipt number AVTDC−2055485) filed by Rumeysa Ozturk (Attachments: # 1
                Affidavit of Ramzi Kassem, # 2 Certificate of Good Standing) (Ernst, Lia) Modified
                on 4/7/2025 to clarify text/attachments and Attachment 1 replaced on 4/7/2025) (sjl).
                (Entered: 04/06/2025)
04/06/2025   52 UNOPPOSED MOTION for Appearance Pro Hac Vice of Mudassar Hayat Toppa
                (Filing fee $ 150 receipt number AVTDC−2055486) filed by Rumeysa Ozturk
                (Attachments: # 1 Affidavit of Mudasssar Hayat Toppa, # 2 Certificate of Good
                Standing) (Ernst, Lia) Modified on 4/7/2025 to clarify text/attachments (sjl). (Entered:
                04/06/2025)
04/06/2025   53 UNOPPOSED MOTION for Appearance Pro Hac Vice of Mahsa Khanbabai (Filing
                fee $ 150 receipt number AVTDC−2055495) filed by Rumeysa Ozturk (Attachments:
                # 1 Affidavit of Mahsa Khanbabai, # 2 Certificate of Good Standing) (Ernst, Lia)
                Modified on 4/7/2025 to clarify text/attachments and Attachment 1 replaced on
                4/7/2025) (sjl). (Entered: 04/06/2025)
04/07/2025   54 ORDER granting 52 Unopposed Motion for Admission Pro Hac Vice of Mudassar
                Hayat Toppa. Signed by Judge William K. Sessions III on 4/7/2025. (This is a
                text−only Order.) (eae) (Entered: 04/07/2025)
04/07/2025   55 NOTICE OF APPEARANCE by Michael P. Drescher, AUSA on behalf of Patricia
                Hyde, Michael Krol, Donald J Trump, Marco A. Rubio, Todd Lyons, Kristi
                Noem.(Drescher, Michael) (Entered: 04/07/2025)
04/07/2025   56 NOTICE OF DOCKET ENTRY CORRECTION re: 53 UNOPPOSED MOTION for
                Appearance Pro Hac Vice of Mahsa Khanbabai. The Affidavit has been replaced to
                include the signature which was omitted at the time of filing. The corrected document
                is now attached to 53 and this entry. (sjl) (Entered: 04/07/2025)
04/07/2025   57 ORDER granting 53 Unopposed Motion for Admission Pro Hac Vice of Mahsa
                Khanbabai. Signed by Judge William K. Sessions III on 4/7/2025. (This is a text−only
                Order.) (eae) (Entered: 04/07/2025)
04/07/2025   58 NOTICE OF DOCKET ENTRY CORRECTION re: 51 UNOPPOSED MOTION for
                Appearance Pro Hac Vice of Ramzi Kassem. The Affidavit has been replaced with a
                corrected version. The corrected document is now attached to 51 and this entry. (sjl)
                (Entered: 04/07/2025)
04/07/2025   59 ORDER granting 51 Unopposed Motion for Admission Pro Hac Vice of Ramzi
                Kassem. Signed by Judge William K. Sessions III on 4/7/2025. (This is a text−only
                Order.) (eae) (Entered: 04/07/2025)
     RESTRICTED Case: 25-1019, 04/23/2025, DktEntry: 1.1, Page 11 of 15

04/07/2025   60 MINUTE ENTRY for proceedings held before Judge William K. Sessions III: Status
                Conference held on 4/7/2025. Present by telephone Ramzi Kassem, Esq. for petitioner
                and Michael Drescher, AUSA for respondent. Court inquires. Statements by counsel.
                ORDERED: supplemental briefs due by 4/10/2025 at 5pm and summary of testimony,
                if needed, due by 4/11/2025 at 5pm; further hearing may be set for Monday and/or
                Tuesday if necessary; page limitations are waived on additional briefing. (Court
                Reporter: Sarah M. Bentley) (law) (Entered: 04/07/2025)
04/08/2025   61 MOTION for Appearance Pro Hac Vice of Matthew Brinckerhoff (Filing fee $ 150
                receipt number AVTDC−2056634) filed by Rumeysa Ozturk (Attachments: # 1
                Affidavit of Matthew Brinckerhoff, # 2 Certificate of Good Standing) (Ernst, Lia)
                Modified on 4/9/2025 to clarify attachments (sjl). (Entered: 04/08/2025)
04/08/2025   62 MOTION for Appearance Pro Hac Vice of Sonya Levitova (Filing fee $ 150 receipt
                number AVTDC−2056635) filed by Rumeysa Ozturk (Attachments: # 1 Affidavit of
                Sonya Levitova, # 2 Certificate of Good Standing) (Ernst, Lia) Modified on 4/9/2025
                to clarify attachments (sjl). (Entered: 04/08/2025)
04/08/2025   63 MOTION for Appearance Pro Hac Vice of Katherine Rosenfeld (Filing fee $ 150
                receipt number AVTDC−2056636) filed by Rumeysa Ozturk (Attachments: # 1
                Affidavit of Katherine Rosenfeld, # 2 Certificate of Good Standing) (Ernst, Lia)
                Modified on 4/9/2025 to clarify attachments (sjl). (Entered: 04/08/2025)
04/08/2025   64 MOTION for Appearance Pro Hac Vice of Vasudha Talla (Filing fee $ 150 receipt
                number AVTDC−2056637) filed by Rumeysa Ozturk (Attachments: # 1 Affidavit of
                Vasudha Talla, # 2 Certificate of Good Standing) (Ernst, Lia) Modified on 4/9/2025 to
                clarify attachments (sjl). (Entered: 04/08/2025)
04/08/2025   65 MOTION for Appearance Pro Hac Vice of Brett Kaufman (Filing fee $ 150 receipt
                number AVTDC−2056644) filed by Rumeysa Ozturk (Attachments: # 1 Affidavit of
                Brett Kaufman, # 2 Certificate of Good Standing) (Ernst, Lia) Modified on 4/9/2025 to
                clarify attachments (sjl). (Entered: 04/08/2025)
04/09/2025   66 TRANSCRIPT of Telephonic Status Conference hearing held on April 7, 2025, before
                Judge William K. Sessions III. Court Reporter/Transcriber Sarah M. Bentley, contact
                information: sbireland7@gmail.com. Transcript may be viewed at the court public
                terminal or purchased through the Court Reporter/Transcriber before the deadline for
                Release of Transcript Restriction. After that date it may be obtained through PACER.
                Redaction Request due 5/5/2025. Redacted Transcript Deadline set for 5/15/2025.
                Release of Transcript Restriction set for 7/11/2025. (law) (Entered: 04/09/2025)
04/09/2025   67 ORDER granting 61 Motion for Admission Pro Hac Vice of Matthew Brinckerhoff;
                granting 62 Motion for Admission Pro Hac Vice of Sonya Levitova ; granting 63
                Motion for Admission Pro Hac Vice of Katherine Rosenfeld; granting 64 Motion for
                Admission Pro Hac Vice of Vasudha Talla; granting 65 Motion for Admission Pro Hac
                Vice of Brett Kaufman. Signed by Judge William K. Sessions III on 4/9/2025. (This is
                a text−only Order.) (eae) (Entered: 04/09/2025)
04/09/2025   68 NOTICE OF APPEARANCE by Matthew D. Brinckerhoff, Esq on behalf of Rumeysa
                Ozturk.(Brinckerhoff, Matthew) (Entered: 04/09/2025)
04/09/2025   69 NOTICE OF APPEARANCE by Katherine Rosenfeld, Esq on behalf of Rumeysa
                Ozturk.(Rosenfeld, Katherine) (Entered: 04/09/2025)
04/09/2025   70 NOTICE OF APPEARANCE by Vasudha Talla, Esq on behalf of Rumeysa
                Ozturk.(Talla, Vasudha) (Entered: 04/09/2025)
04/09/2025   71 NOTICE OF APPEARANCE by Sonya Levitova, Esq on behalf of Rumeysa
                Ozturk.(Levitova, Sonya) (Entered: 04/09/2025)
04/09/2025   72 UNOPPOSED MOTION for Appearance Pro Hac Vice of Julian Bava (Filing fee $
                150 receipt number AVTDC−2057391) filed by Rumeysa Ozturk (Attachments: # 1
                Affidavit of Julian Bava, # 2 Certificate of Good Standing) (Ernst, Lia) Modified on
                4/10/2025 to clarify text/attachments (sjl). (Entered: 04/09/2025)
04/09/2025   73 UNOPPOSED MOTION for Appearance Pro Hac Vice of Esha Bhandari (Filing fee $
                150 receipt number AVTDC−2057394) filed by Rumeysa Ozturk (Attachments: # 1
                Affidavit of Esha Bhandari, # 2 Certificate of Good Standing) (Ernst, Lia) Modified on
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                 4/10/2025 to clarify text/attachments (sjl) Modified on 4/10/2025 (sjl). (Entered:
                 04/09/2025)
04/09/2025   74 UNOPPOSED MOTION for Appearance Pro Hac Vice of Brian Hauss (Filing fee $
                150 receipt number AVTDC−2057395) filed by Rumeysa Ozturk (Attachments: # 1
                Affidavit of Brian Hauss, # 2 Certificate of Good Standing) (Ernst, Lia) Modified on
                4/10/2025 to clarify text/attachments (sjl). (Entered: 04/09/2025)
04/09/2025   75 UNOPPOSED MOTION for Appearance Pro Hac Vice of Noor Zafar (Filing fee $
                150 receipt number AVTDC−2057396) filed by Rumeysa Ozturk (Attachments: # 1
                Affidavit of Noor Zafar, # 2 Certificate of Good Standing) (Ernst, Lia) Modified on
                4/10/2025 to clarify text/attachments (sjl). (Entered: 04/09/2025)
04/10/2025   76 ORDER granting 72 Motion for Admission Pro Hac Vice of Julian Bava; granting 73
                Motion for Admission Pro Hac Vice of Esha Bhandari; granting 74 Motion for
                Admission Pro Hac Vice of Brian Hauss; granting 75 Motion for Admission Pro Hac
                Vice of Noor Zafar. Signed by Judge William K. Sessions III on 4/10/2025. (This is a
                text−only Order.) (eae) (Entered: 04/10/2025)
04/10/2025   77 NOTICE OF APPEARANCE by Gary L. Franklin, Esq on behalf of Ansche Chesed,
                Bend the Arc: A Jewish Partnership for Justice, B'nai Jeshurun, Congregation Beth
                Elohim, Congregation Dorshei Tzedek, West Newton, Habonim Dror, Harvard Jewish
                Progressive Alumni, IKAR, J Street, Jewish Center for Justice, Jewish Labor
                Committee, Keshet, Leo Baeck Temple, Ma'yan Tikvah, New England Jewish Labor
                Committee, New Israel Fund, New Jewish Narrative, Nexus Project, T'ruah: The
                Rabbinic Call for Human Rights, Massachusetts, The Boston Workers Circle, The
                Reconstructionist Rabbinical Assoc, The Workers Circle, Worcester Havurah, Jewish
                Alliance for Law and Social Action, New York Jewish Agenda, Temple Emanu−El,
                Temple Micah.(Franklin, Gary) Filers added on 4/10/2025 (law). (Entered:
                04/10/2025)
04/10/2025   78 NOTICE of Hearing re: Motion to Dismiss: Motion Hearing set for 4/14/2025 at 09:30
                AM in Burlington Courtroom 110 before Judge William K. Sessions III. (law) (see
                page 2 of notice for Zoom information)

                 Please be reminded that Judicial Conference policy prohibits the broadcasting of
                 proceedings in federal courts. Persons granted remote access to proceedings are
                 reminded of the general prohibition against photographing, recording, or
                 rebroadcasting of court proceedings pursuant to Judicial Conference policy. This
                 prohibition applies to counsel, the parties, the media and any member of the public.
                 Violation of these prohibitions may result in sanctions, including removal of court
                 issued media credentials, restricted entry to future hearings, denial of entry to future
                 hearings, or any other sanctions deemed necessary by the court. (Entered: 04/10/2025)
04/10/2025   79 MOTION for Appearance Pro Hac Vice of Robert Balin, Jeremy Chase, Linda
                Steinman, Victor Kovner, Abigail Everdell, Rachel Strom, James Rosenfeld, Jesse
                Feitel, Adam Sieff, Rachel Goldberg, Nathan Siegel, Alison Schary (Filing fee $ 1,800
                receipt number 5670) filed by Ansche Chesed, Bend the Arc: A Jewish Partnership for
                Justice, B'nai Jeshurun, Congregation Beth Elohim, Congregation Dorshei Tzedek,
                Habonim Dror, Harvard Jewish Progressive Alumni, IKAR, J Street, Jewish Center for
                Justice, Jewish Labor Committee, Keshet, Leo Baeck Temple, Ma'yan Tikvah, New
                England Jewish Labor Committee, New Israel Fund, New Jewish Narrative, Nexus
                Project, T'ruah: The Rabbinic Call for Human Rights, Massachusetts, The Boston
                Workers Circle, The Reconstructionist Rabbinical Assoc, The Workers Circle,
                Worcester Havurah, Jewish Alliance for Law and Social Action (JALSA), New York
                Jewish Agenda, Temple Emanu−El, Temple Micah (Attachments: # 1 Exhibit A, # 2
                Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8
                Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit
                M, # 14 Exhibit N, # 15 Exhibit O, # 16 Exhibit P, # 17 Exhibit Q, # 18 Exhibit R, #
                19 Exhibit S, # 20 Exhibit T, # 21 Exhibit U, # 22 Exhibit V, # 23 Exhibit W, # 24
                Exhibit X) (Franklin, Gary) Modified on 4/11/2025 to clarify attachments and include
                receipt number (sjl). (Entered: 04/10/2025)
04/10/2025   80 MOTION for Leave to File an Amicus Curiae Brief filed by Brett F Stokes,
                International Law Professors, Experts, Practitioners and Scholars. (Attachments: # 1
                Proposed Order, # 2 Proposed Brief)(Stokes, Brett) (Entered: 04/10/2025)
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04/10/2025   81 SUPPLEMENTAL MEMORANDUM by Rumeysa Ozturk on Jurisdictional Issues.
                (Allard, Monica) (Entered: 04/10/2025)
04/10/2025   82 MOTION for Release Under MAPP v. RENO or in the Alternative MOTION for
                Return to Vermont with Request for Oral Argument/Hearing filed by Rumeysa Ozturk
                (Attachments: # 1 Memorandum in Support, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3,
                # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8, # 10 Exhibit
                9)(Ernst, Lia) Text clarified and Added MOTION for Return to Vermont on 4/10/2025
                (law). (Additional attachment(s) added on 4/11/2025: # 11 Exhibit 1(redacted), # 12
                Index of Exhibits) (law). (Entered: 04/10/2025)
04/10/2025   83 SUPPLEMENTAL MEMORANDUM in Opposition re: 12 Amended Petition for Writ
                of Habeas Corpus Pursuant to 28 U.S.C. § 2241 by Patricia Hyde, Michael Krol,
                Donald J Trump, Marco A. Rubio, Todd Lyons, Kristi Noem. (Drescher, Michael)
                Text clarified on 4/10/2025 (law). (Entered: 04/10/2025)
04/10/2025   84 SUPPLEMENTAL BRIEFING in Opposition to 82 MOTION for Release Under
                MAPP v. RENO or in the Alternative MOTION for Return to Vermont filed by Patricia
                Hyde, Michael Krol, Donald J Trump, Marco A. Rubio, Todd Lyons, Kristi Noem.
                (Drescher, Michael) Text clarified on 4/10/2025 (law). (Entered: 04/10/2025)
04/10/2025   85 MOTION for Leave to File Amici Curiae Brief filed by Ansche Chesed, Bend the Arc:
                A Jewish Partnership for Justice, B'nai Jeshurun, Congregation Beth Elohim,
                Congregation Dorshei Tzedek, Habonim Dror, Harvard Jewish Progressive Alumni,
                IKAR, J Street, Jewish Center for Justice, Jewish Labor Committee, Keshet, Leo
                Baeck Temple, Ma'yan Tikvah, New England Jewish Labor Committee, New Israel
                Fund, New Jewish Narrative, Nexus Project, T'ruah: The Rabbinic Call for Human
                Rights, Massachusetts, The Boston Workers Circle, The Reconstructionist Rabbinical
                Assoc, The Workers Circle, Worcester Havurah, Jewish Alliance for Law and Social
                Action, New York Jewish Agenda, Temple Emanu−El, Temple Micah. (Attachments:
                # 1 Proposed Brief)(Franklin, Gary) Text clarified on 4/10/2025 (law). (Entered:
                04/10/2025)
04/10/2025   86 MOTION for Appearance Pro Hac Vice of Sidra Mahfooz (Filing fee $ 150 receipt
                number AVTDC−2058449) filed by Rumeysa Ozturk (Attachments: # 1 Affidavit of
                Sidra Mahfooz, # 2 Certificate of Good Standing) (Ernst, Lia) Modified on 4/11/2025
                to clarify attachments and Attachment 1 replaced on 4/11/2025) (sjl). (Entered:
                04/10/2025)
04/11/2025   87 NOTICE OF DOCKET ENTRY CORRECTION re: 86 MOTION for Appearance Pro
                Hac Vice of Sidra Mahfooz. Attachment 1 has been replaced to correct the PDF size
                and remove illegible PDF headers. The corrected document is now attached to 86 and
                this entry. (sjl) (Entered: 04/11/2025)
04/11/2025   88 ORDER granting 86 Motion for Admission Pro Hac Vice of Sidra Mahfooz. Signed by
                Judge William K. Sessions III on 4/11/2025. (This is a text−only Order.) (eae)
                (Entered: 04/11/2025)
04/11/2025   89 ORDER granting 79 Motion for Admission Pro Hac Vice of Robert Balin, Jeremy
                Chase, Linda Steinman, Victor Kovner, Abigail Everdell, Rachel Strom, James
                Rosenfeld, Jesse Feitel, Adam Sieff, Rachel Goldberg, Nathan Siegel, and Alison
                Schary. Signed by Judge William K. Sessions III on 4/11/2025. (This is a text−only
                Order.) (eae) (Entered: 04/11/2025)
04/11/2025   90 NOTICE OF DOCKET ENTRY CORRECTION re: 82 MOTION for Release Under
                MAPP v. RENO or in the Alternative MOTION for Return to Vermont filed by
                Rumeysa Ozturk. Exhibit 1 has been sealed in accordance with F.R.Civ.P. 5.2. Also,
                the required Index of Exhibits was not included at the time of filing. The redacted
                exhibit and index are now attached to 82 and this entry. (Attachments: # 1 Index of
                Exhibits) (law) (Entered: 04/11/2025)
04/11/2025   91 SUPPLEMENTAL DOCUMENT(S) re: Jurisdictional Issues and 82 MOTION for
                Release Under MAPP v. RENO or in the Alternative MOTION for Return to Vermont
                by Rumeysa Ozturk. (Attachments: # 1 Exhibit 12)(Ernst, Lia) Text clarified on
                4/13/2025 (law). (Entered: 04/11/2025)
04/11/2025   92 UNOPPOSED MOTION for Appearance Pro Hac Vice of Rachel Davidson (Filing fee
                $ 150 receipt number AVTDC−2059258) filed by Rumeysa Ozturk (Attachments: # 1
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                   Affidavit of Rachel Davidson, # 2 Certificate of Good Standing) (Ernst, Lia) Modified
                   on 4/14/2025 to clarify text/attachments (sjl). (Entered: 04/11/2025)
04/11/2025    93 UNOPPOSED MOTION for Appearance Pro Hac Vice of Adriana Lafaille (Filing fee
                 $ 150 receipt number AVTDC−2059259) filed by Rumeysa Ozturk (Attachments: # 1
                 Affidavit of Adriana Lafaille, # 2 Certificate of Good Standing) (Ernst, Lia) Modified
                 on 4/14/2025 to clarify text/attachments (sjl). (Entered: 04/11/2025)
04/11/2025    94 UNOPPOSED MOTION for Appearance Pro Hac Vice of Jessie J. Rossman (Filing
                 fee $ 150 receipt number AVTDC−2059260) filed by Rumeysa Ozturk (Attachments:
                 # 1 Affidavit of Jessie Rossman, # 2 Certificate of Good Standing) (Ernst, Lia)
                 Modified on 4/14/2025 to clarify text/attachments (sjl). (Entered: 04/11/2025)
04/13/2025    95 SUPPLEMENTAL DOCUMENT(S) re: 82 MOTION for Release Under MAPP v.
                 RENO or in the Alternative MOTION for Return to Vermont by Rumeysa Ozturk.
                 (Attachments: # 1 Exhibit 13)(Levitova, Sonya) (Entered: 04/13/2025)
04/14/2025    96 ORDER granting 92 Motion for Admission Pro Hac Vice of Rachel Davidson;
                 granting 93 Motion for Admission Pro Hac Vice of Adriana Lafaille; granting 94
                 Motion for Admission Pro Hac Vice of Jessie J. Rossman. Signed by Judge William K.
                 Sessions III on 4/14/2025. (This is a text−only Order.) (eae) (Entered: 04/14/2025)
04/14/2025    97 MINUTE ENTRY for proceedings held before Judge William K. Sessions III: Motion
                 Hearing held on 4/14/2025 re: Motion to Dismiss and 82 MOTION for Release Under
                 MAPP v. RENO or in the Alternative MOTION for Return to Vermont. Adriana
                 Lafaille, Jessie Rossman, Lisa Ernst, Monica Allard and Noor Zafar, Esqs. present for
                 petitioner. Michael Drescher, AUSA present for respondents. Statements by counsel.
                 ORDERED: motions taken under advisement. (Court Reporter: Sarah Bentley) (law)
                 (Entered: 04/14/2025)
04/16/2025    98 TRANSCRIPT of Motion hearing held on April 14, 2025, before Judge William K.
                 Sessions III. Court Reporter/Transcriber Sarah M. Bentley, telephone number
                 sbireland7@gmail.com. Transcript may be viewed at the court public terminal or
                 purchased through the Court Reporter/Transcriber before the deadline for Release of
                 Transcript Restriction. After that date it may be obtained through PACER. Redaction
                 Request due 5/12/2025. Redacted Transcript Deadline set for 5/22/2025. Release of
                 Transcript Restriction set for 7/18/2025. (law) (Entered: 04/16/2025)
04/16/2025    99 SUPPLEMENTAL DOCUMENT(S) re: 82 MOTION for Release Under MAPP v.
                 RENO or in the Alternative MOTION for Return to Vermont by Rumeysa Ozturk.
                 (Ernst, Lia) Link added on 4/17/2025 (law). (Entered: 04/16/2025)
04/17/2025   100 NOTICE OF DOCKET ENTRY CORRECTION re: 26 REPLY to Response to 1
                 Petition for Writ of Habeas Corpus − 2241 filed by Rumeysa Ozturk. Exhibit 1 has
                 been sealed in accordance with F.R.Civ.P. 5.2. A redacted version is now attached to
                 26 and this entry. (law) (Entered: 04/17/2025)
04/17/2025   101 SUPPLEMENTAL DOCUMENT(S) re: 82 MOTION for Release Under MAPP v.
                 RENO or in the Alternative MOTION for Return to Vermont by Rumeysa Ozturk.
                 (Ernst, Lia) (Text and link clarified, Main Document 101 replaced and Attachment(s)
                 added on 4/17/2025: # 1 Exhibit A) (law). (Entered: 04/17/2025)
04/17/2025   102 NOTICE OF DOCKET ENTRY CORRECTION re: 101 Supplemental Document to
                 82 MOTION for Release Under MAPP v. RENO or in the Alternative MOTION for
                 Return to Vermont filed by Rumeysa Ozturk. The document and its exhibit was
                 uploaded as a singular PDF. The documents have been broken apart and are now
                 separately attached to 101 and this entry. (Attachments: # 1 Exhibit A) (law) (Entered:
                 04/17/2025)
04/18/2025   103 RESPONSE to 99 Supplemental Document re: 82 MOTION for Release Under MAPP
                 v. RENO or in the Alternative MOTION for Return to Vermont by Patricia Hyde,
                 Michael Krol, Donald J Trump, Marco A. Rubio, Todd Lyons, Kristi Noem.
                 (Drescher, Michael) Text clarified, link added on 4/20/2025 (law). (Entered:
                 04/18/2025)
04/18/2025   104 OPINION AND ORDER re: court to retain jurisdiction; petitioner is to be transferred
                 to ICE custody within the District of Vermont no later than 5/1/2025; a bail hearing
                 will be scheduled for 5/9/2025; parties are ordered to submit briefs and present all
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                  evidence related to issue of bail by 5/2/2025; a hearing on the merits of the habeas
                  petition will be held 5/22/2025 and the court stays the effect of this order for 4 days to
                  allow either party to appeal this order. Signed by Judge William K. Sessions III on
                  4/18/2025. (law) (Entered: 04/18/2025)
04/22/2025   105 NOTICE OF APPEAL as to 104 Opinion and by Patricia Hyde, Michael Krol, Donald
                 J Trump, Marco A. Rubio, Todd Lyons, Kristi Noem. (Drescher, Michael) (Entered:
                 04/22/2025)
04/22/2025   106 MOTION to Continue Stay Pending Appeal re 104 Opinion and Order filed by Patricia
                 Hyde, Michael Krol, Donald J Trump, Marco A. Rubio, Todd Lyons, Kristi Noem.
                 (Drescher, Michael) Text clarified on 4/23/2025 (law). (Entered: 04/22/2025)
